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UNITED STATES I)ISTRICT COURT . ' -.
FOR THE Fu£o ar __ D.¢».
WESTERN DISTRICT oF TENNESSEE 05 AUG 19 pH w 37
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) CR. No. 04-20466- Br§§f§§§" §§§-"’F§D"§§S
vs. )
)
DWAYNE BECTON, )

APPLICATION. ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
The United States Attorney’S Office applies to the Court for aWrit to have DWayne Becton, No.
B64923, now being detained in the Vandalia Correctional Center, appear before the Honorable .]u dge
J. Daniel Breen, on Monday, September 26, 2005, at 9:30 a.m., for a Report Date and for Such
other appearances as this Court may direct.

Respectfu]ly submitted, this 19th day of August, 2005.

/_.

/J §
TIMOTHY/R. DiSCENzA
Assistant U. S. Attorney
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Upon consideration of the foregoing Application, David Jolley, U.S. Marshal, Western District
of Tenoessee, Memphis, TN Sheriff/Warden, Shelby County Jail.
YOU ARE HEREBY COMMANDED to have Dwayne Becton, No. 340601, appear before

the Honorable Judge J. Daniel Breen, at the date and time aforementioned

ENTER_ED this 19th day of August, 2005.

 

 

UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
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Tirnothy R. DiScenZa

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Honorable J. Breen
US DISTRICT COURT

